                                   United States District Court
                                Eastern District of North Carolina
                                        Western Division
                                       No. 5:19-cv-248-BO

 PUBLIC INTEREST LEGAL FOUNDATION,

                                             Plaintiff,
    v.

 KAREN BRINSON BELL, in her official
 capacity as Executive Director of the North
 Carolina State Board of Elections, and NORTH
 CAROLINA STATE BOARD OF
 ELECTIONS,

                                          Defendants.


                            JOINT STIPULATION OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendants in

the above-captioned action hereby stipulate that this action be dismissed in its entirety with

prejudice as to all claims, causes of actions, and parties.




                                               1

           Case 5:19-cv-00248-BO Document 50 Filed 01/31/22 Page 1 of 3
Dated: January 31, 2022.

Respectfully submitted:

   /s/ Benton G. Sawrey                           JOSHUA H. STEIN
Benton G. Sawrey (N.C. Bar #46379)                Attorney General
Narron Wenzel, P.A.
102 S. Third Street                               /s/ Terence Steed
PO Box 1567                                       Terence Steed
Smithfield, N.C. 27577                            Special Deputy Attorney General
T: (919) 934-0049                                 N.C. State Bar No. 52809
F: (919) 934-6280                                 Email: tsteed@ncdoj.gov
bsawrey@narronwenzel.com                          N.C. Department of Justice
Local Civil Rule 83.1(d) Counsel                  Post Office Box 629
                                                  Raleigh, NC 27602-0629
 /s/ Noel H. Johnson                              Telephone: (919) 716-6900
Noel H. Johnson* (Wis. Bar #1068004)              Fax: (919) 716-6750
Kaylan L. Phillips* (Indiana Bar #30405-82)
Public Interest Legal Foundation, Inc.            Counsel for Defendant Karen Brinson Bell
32 E. Washington St., Ste. 1675
Indianapolis, IN 46204
Tel: (317) 203-5599
Fax: (888) 815-5641
njohnson@PublicInterestLegal.org
kphillips@PublicInterestLegal.org
* Special Appearance filed

Counsel for Plaintiff Public Interest Legal
Foundation




                                              2

          Case 5:19-cv-00248-BO Document 50 Filed 01/31/22 Page 2 of 3
                                CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2022, I electronically filed the foregoing using the

Court’s ECF system, which will serve notice on all registered parties.


                                               /s/ Noel H. Johnson
                                             Noel H. Johnson
                                             njohnson@publicinterestlegal.org
                                             Counsel for Plaintiff




                                             2

          Case 5:19-cv-00248-BO Document 50 Filed 01/31/22 Page 3 of 3
